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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    §
    In re:                                                          §     Chapter 11
                                                                    §
    GASTAR EXPLORATION INC., et al.,1                               §     Case No. 18-36057 (MI)
                                                                    §
                                       Debtors.                     §     (Jointly Administered)
                                                                    §     (Emergency Hearing Requested)

                       DEBTORS’ EMERGENCY MOTION
                      FOR ENTRY OF INTERIM AND FINAL
                   ORDERS (I) AUTHORIZING THE DEBTORS TO
                  OBTAIN POSTPETITION SECURED FINANCING,
            (II) GRANTING LIENS AND PROVIDING SUPERPRIORITY
            ADMINISTRATIVE EXPENSE CLAIMS, (III) AUTHORIZING
          THE USE OF CASH COLLATERAL, (IV) GRANTING ADEQUATE
           PROTECTION, (V) MODIFYING THE AUTOMATIC STAY, (VI)
      SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF


             THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
             OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO
             RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST
             FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOUR RESPONSE MUST
             STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
             RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
             OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND
             THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER
             EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

             EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE MOTION
             ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF
             YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY
             CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN IMMEDIATE RESPONSE. A
             HEARING WILL BE HELD ON THIS MATTER FOR NOVEMBER 1, 2018, AT 2:30 P.M. (CT)
             BEFORE THE HONORABLE MARVIN ISGUR, 515 RUSK STREET, COURTROOM 404,
             HOUSTON, TEXAS 77002.

             REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Gastar Exploration Inc. (1640) and Northwest Property Ventures LLC (8685). The location of the
      Debtors’ service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.
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        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)2

respectfully state the following in support of this motion:

                                                Relief Requested

        1.        The Debtors seek entry of interim substantially in the form attached hereto as

Exhibit A (the “Interim Order”)3 and a Final Order (the “Final Order,”4 and together the “DIP

Orders”) approving the Debtors’ entry into the DIP Facility and granting related relief. In support

of this motion, the Debtors respectfully submit the Declaration of Kevin M. Cofsky In Support of

the Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors

to Obtain Postpetition Secured Financing, (II) Granting Liens and Providing Superpriority

Administrative Expense Claims, (III) Authorizing the Use of Cash Collateral, (IV) Granting

Adequate Protection, (V) Modifying the Automatic Stay, (VI) Scheduling a Final Hearing, and

(VII) Granting Related Relief, [Docket No. 16] (the “Cofsky Declaration”) and the First Day

Declaration.     In addition, the Debtors request that the Court schedule a final hearing within

approximately 25 days days of the Petition Date, to consider approval of this motion on a final basis.

                                            Jurisdiction and Venue

        2.        The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the



2
    A detailed description of the Debtors and their businesses, and the facts and circumstances supporting this motion
    and the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Michael A. Gerlich, Chief
    Financial Officer and Senior Vice President of Gastar Exploration Inc., in Support of Chapter 11 Petitions and
    First Day Motions, (the “First Day Declaration”), filed contemporaneously with the Debtors’ voluntary petitions
    for relief filed under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), on October 31,
    2018 (the “Petition Date”).
3
    Capitalized terms not otherwise defined herein will have the meaning ascribed to them in the Interim Order. The
    description of the capital structure (including the priority, perfection, and collateral (if any)) of the Debtors
    contained herein is solely for illustrative purposes. To the extent that there is any discrepancy between the Interim
    Order and this motion, the terms of the Interim Order, as entered by the Court, shall control.
4
    The Debtors will file the form of Final Order prior to the Final Hearing (as defined herein).


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Amended Standing Order of Reference from the United States District Court for the Southern

District of Texas, dated May 24, 2012 (the “Amended Standing Order”). The Debtors confirm

their consent, pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), to the entry of a final order by the Court in connection with this motion

to the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.       The bases for the relief requested herein are sections 105, 361, 362, 363, 364, 503,

and 507 of the Bankruptcy Code, Bankruptcy Rules 2002 and 4001, rules 4002-1 and 9013-1 of

the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the United States Bankruptcy Court for the Southern District of Texas Procedures for Complex

Chapter 11 Cases (the “Complex Case Procedures”).

                                           Preliminary Statement

        5.       This motion requests that the Court approve the new superpriority debtor-in-

possession financing facility in an aggregate amount of approximately $383.9 million5 (the “DIP

Facility”) by and between the Debtors, certain funds affiliated with Ares Management LLC

(collectively, the “DIP Lenders”), and Wilmington Trust, National Association, as administrative

agent (in such capacity, the “DIP Agent,” and together with the DIP Agent, the “DIP Secured

Parties”). The DIP Facility will provide the Debtors with sufficient liquidity for, among other

things, general working capital purposes and funding the administration of these chapter 11 cases,

in each case in accordance with a budget agreed to by the DIP Lenders (the “Budget”).


5
    This amount does not account for accrued, but unpaid interest.


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       6.      As described in the First Day Declaration, absent entry into the DIP Facility, the

Debtors will have insufficient liquidity to continue operating in the ordinary course. The liquidity

provided by the DIP Facility—which is the only financing available to the Debtors after an

extensive marketing process—will ensure the Debtors can continue to operate uninterrupted in the

ordinary course of business and will provide the Debtors with sufficient time to consummate a

restructuring of their business.

       7.      The DIP Facility was the product of extensive, arm’s-length negotiations with the

DIP Lenders and was preceded by a 15-month prepetition marketing process (which included

requests for financing proposals). As described in the First Day Declaration and the Cofsky

Declaration, in late 2016, the Debtors commenced a marketing process that ultimately resulted in

a comprehensive refinancing of their balance sheet that closed on March 3, 2017. The Debtors

intended for this refinancing to allow them to weather the industry storm, further develop and

prove out their acreage, and bridge to capital market access at a later and more opportune date.

Due to certain operational challenges, as detailed in the First Day Declaration, the Debtors were

not able to survive the downturn without additional liquidity-enhancing transactions, as they had

hoped. The Debtors ultimately determined to pursue further strategic alternatives.

       8.      In August 2017, the Debtors retained Tudor, Pickering, Holt & Co. LLC (“TPH”)

(and later Perella Weinberg Partners LP (“PWP”)) to assist in their review of strategic alternatives.

In September 2017, TPH commenced a process seeking to sell the Debtors’ non-core assets outside

of the STACK region. While the Debtors were successful in selling certain non-core assets, they

did not receive any actionable comprehensive financing, merger, or sale proposals. In May 2018,

facing increasingly tight liquidity, and a dearth of comprehensive sale, merger, or refinancing




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options, it became clear to Gastar’s board of directors (the “Board”) that it was necessary to pursue

a transformative transaction, including potentially through a chapter 11 filing.

        9.      Prior to commencing these chapter 11 cases, however, the Board determined to go

to the market once more to solicit comprehensive out-of-court merger, sale, financing, and

refinancing proposals. After an extensive marketing process, however, the Debtors were unable

to secure an actionable comprehensive proposal. In parallel with their marketing efforts, the

Debtors engaged with funds affiliated with Ares Management LLC (“Ares”)—the Debtors’ largest

and only funded-debt creditors and largest shareholder—regarding a restructuring transaction.

Through extensive, arm’s-length negotiations, the Debtors and Ares agreed to the terms of the

restructuring set forth in the restructuring support agreement (the “Restructuring Support

Agreement”), dated October 26, 2018. Accordingly, the Debtors determined to proceed with their

best and only alternative—the restructuring contemplated by the Restructuring Support

Agreement. As part of the Restructuring Support Agreement, Ares has agreed to fund the DIP

Facility which will ultimately convert to a first lien exit facility.

        10.     In addition to the Debtors’ broader restructuring negotiations and marketing efforts,

PWP and TPH conducted a marketing process to determine the availability of other debtor-in-

possession financing sources. Based on the results of this marketing process, alternative debtor-

in-possession financing on terms superior to those contained in the DIP Facility is presently

unavailable to the Debtors. PWP and TPH contacted 21 potential investors and interested parties

that PWP and TPH determined could have the interest and financial wherewithal to fund a debtor-

in-possession financing facility the size of the DIP Facility. Each of these potential investors

rejected the opportunity to provide alternative debtor-in-possession financing. In light of the

Debtors’ approximately $446.4 million in prepetition secured debt and the fact that Ares has



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expressed both its interest in providing debtor-in-possession financing and its objection to any

“priming” debtor-in-possession financing third-party, no parties that PWP and TPH contacted

were interested in providing junior debtor-in-possession financing or investing the time and cost

necessary to provide debtor-in-possession financing on a nonconsensual, priming basis.

       11.     The DIP Facility will provide the Debtors with immediate access to liquidity that

is necessary to fund the Debtors’ operations, stabilize the Debtors’ businesses during the pendency

of these chapter 11 cases, and ensure that the value-maximizing transaction contemplated by the

Restructuring Support Agreement is consummated. The DIP Facility also provides committed

financing to fund the Debtors’ emergence from chapter 11.

       12.     No party that PWP or TPH contacted as part of the above-described process was

interested in providing, or willing to provide, postpetition financing to the Debtors on more

favorable terms. Thus, providing the DIP Lenders with the protections described in this motion is

reasonable and appropriate here, as it will allow the Debtors to obtain the critical financing they

need to fund their operations, preserve their assets, and provide assurances to vendors and

customers that the Debtors have sufficient liquidity to continue their operations in the ordinary

course, without disruption.

 Concise Statement Pursuant to Bankruptcy Rule 4001 and the United States Bankruptcy
   Court for the Southern District of Texas Procedures for Complex Chapter 11 Cases

       13.     The Debtors seek entry of the DIP Orders:

               a.     DIP Facility: authorizing the Debtors to enter into a new superpriority
                      debtor-in-possession financing facility in the aggregate principal amount of
                      approximately $383.9 million, which shall include (a) up to $100 million in
                      new money financing (the “New Money Loans”) and (b) approximately
                      $283.9 million of refinanced Term Obligations consisting of outstanding
                      principal and accrued and unpaid interest under the Term Facility as of the
                      Petition Date (the “Refinanced Loans”);

               b.     DIP Loan Documents: authorizing the Debtors to enter into the
                      Superpriority Debtor-in-Possession Credit Agreement dated as of

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                      October 31, 2018, among the Debtors, the DIP Lenders, and the DIP Agent,
                      substantially in the form attached hereto as Exhibit B (as amended,
                      supplemented or otherwise modified from time to time in accordance with
                      the terms hereof and thereof, the “DIP Credit Agreement”) and certain
                      ancillary documentation (together with the DIP Credit Agreement, the “DIP
                      Loan Documents”);

               c.     Adequate Protection: authorizing the Debtors to grant adequate protection
                      in connection with the prepetition indebtedness and all related security
                      agreements and all of the Debtors’ secured obligations arising thereunder;

               d.     Cash Collateral: authorizing the Debtors to continue to use Cash Collateral
                      of the DIP Agent, the Term Agent (on behalf of the Term Lenders and the
                      Hedge Counterparties), and the Second Lien Trustee subject to the
                      restrictions set forth in the DIP Loan Documents and the Interim Order and
                      the granting of adequate protection to the Term Facility Secured Parties,
                      The Hedge Counterparties and the Second Lien Secured Parties (each as
                      defined herein) with respect thereto;

               e.     Superpriority Claims and DIP Liens: granting first priority priming liens
                      on all encumbered and unencumbered assets of the Debtors (whether
                      existing as of the Petition Date or after-acquired, tangible or intangible, and
                      comprising real or personal property), which liens shall prime all other liens
                      and claims, including the liens securing the Term Obligations and the
                      Second Lien Obligations but junior priority liens on all assets of the Debtors
                      to the extent that such assets are subject to valid, perfected and unavoidable
                      Permitted Liens (as defined in the DIP Loan Documents) in favor of third
                      parties that were in existence immediately prior to the Petition Date, or to
                      valid and unavoidable Permitted Liens in favor of third parties that were in
                      existence immediately prior to the Petition Date that were perfected
                      subsequent to the Petition Date as permitted by section 546(b) of the
                      Bankruptcy Code (other than the existing liens and claims in respect of the
                      Term Obligations and the Second Lien Obligations, which existing liens
                      and claims will be primed by the liens described herein (such liens and
                      security interests, collectively, the “DIP Liens”);

               f.     Automatic Stay: modifying the automatic stay imposed by section 362 of
                      the Bankruptcy Code to the extent necessary to implement and effectuate
                      the terms of the DIP Orders; and

               g.     Final Hearing: scheduling a final hearing (the “Final Hearing”) on the
                      motion.

       14.     The following chart contains a summary of the material terms of the proposed DIP

Facility, together with references to the applicable sections of the relevant source documents, as


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required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and the Complex Case

Procedures.6

      Bankruptcy Code           Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
    Borrowers                Gastar Exploration Inc. (“Gastar”), as debtor-in-possession in these chapter 11 cases.
    Bankruptcy Rule
    4001(c)(1)(B)            See DIP Credit Agreement Preamble; Interim Order Preamble.

    Guarantors
                             Gastar and Northwest Property Ventures LLC (“Northwest”).
    Bankruptcy Rule
    4001(c)(1)(B)            See DIP Credit Agreement, Art. I.
    DIP Financing
    Lenders                  The parties set forth on schedule 2.01 to the DIP Credit Agreement.
    Bankruptcy Rule
                             See DIP Credit Agreement, Schedule 2.01.
    4001(c)(1)(B)
    Term
                             The earliest of:
    Bankruptcy Rule
    4001(b)(l)(B)(iii),           (a) February 15, 2019;
    4001(c)(1)(B)
                                  (b) 30 days after the Petition Date if the Final Order Entry Date shall not have
                                      occurred by such date;
                                  (c) the earlier of the effective date and the date of the substantial consummation (as
                                      defined in section 1101(2) of the Bankruptcy Code), in each case, of the
                                      Acceptable Plan that has been confirmed by a Final Order; and
                                  (d) the date of termination of the Lenders’ commitments and the acceleration of any
                                      outstanding extensions of credit, in each case, under the DIP Credit Agreement.
                             See DIP Credit Agreement, Art. I.
    Commitment
                                  (a) New Money Interim Loan:
    Bankruptcy Rule
    4001(c)(1)(B)                          a.   Not less than $2,500,000 for the initial Borrowing and not less than
                                                $500,000 for each subsequent Borrowing (or, if less, the amount of the
                                                remaining New Money Interim Commitment), and, in any event, in an
                                                amount not to exceed the New Money Interim Commitment or the
                                                Borrowing Cap.
                                  (b) New Money Final Loan:
                                           a.   Not less than $500,000 for each Borrowing (or, if less, the amount of
                                                the remaining New Money Final Commitment), and, in any event, not
                                                to exceed the New Money Final Commitment or the Borrowing Cap.
                                  (c) New Money Reserve Loan:
                                           a.   Not less than $500,000 for each Borrowing (or, if less, the amount of
                                                the remaining New Money Reserve Commitment), and, in any event,



6      The summaries contained in this motion are qualified in their entirety by the provisions of the documents
       referenced. To the extent anything in this motion is inconsistent with such documents, the terms of the applicable
       documents shall control. Capitalized terms used in this summary chart but not otherwise defined have the
       meanings ascribed to them in the DIP Loan Documents or the Interim Order, as applicable.


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 Bankruptcy Code     Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                                     not to exceed the New Money Reserve Commitment or the Borrowing
                                     Cap.
                   See DIP Credit Agreement, Art. I, Art. II, § 2.02.
Conditions of
                   Conditions to New Money Interim Loans:
Borrowing
Bankruptcy Rule        (a) Loan Documents. The DIP Documents shall be fully executed.
4001(c)(1)(B)
                       (b) Organizational Documents. The DIP Agent shall have received all corporate
                           documentation required pursuant to the DIP Documents.
                       (c) Collateral. The DIP Agent, for the benefit of the Secured Parties, shall have
                           been granted a perfected lien on the Collateral by the DIP Orders on the terms
                           and conditions set forth therein and in the other Loan Documents.
                       (d) Initial Budget. The Majority Lenders shall have received the Initial Budget.
                       (e) Fees and Expenses. The DIP Agent and the Lenders shall have received all fees
                           and expenses due and payable to the Secured Parties on or prior to the Closing
                           Date.
                       (f) Required Documentation. At least three (3) Business Days prior to the Effective
                           Date, the DIP Agent and the Lenders shall have received all requested
                           documentation pursuant to the terms of the DIP Credit Agreement.
                       (g) Bankruptcy Related Conditions.
                                a.   The Chapter 11 Cases shall have been commenced and all of the “first
                                     day orders” and all related pleadings to be entered at the time of
                                     commencement of the Chapter 11 Cases and be in form and substance
                                     reasonably acceptable to the Majority Lenders;
                                b.   The Interim Order shall have been entered by the Bankruptcy Court
                                     within five (5) days after the Petition Date; and
                                c.   All Non-DIP Orders shall be in form and substance reasonably
                                     satisfactory to the Majority Lenders.
                   Conditions to All Loans:
                       (a) Representations and Warranties. The representations and warranties shall be
                           true and correct in all material respects.
                       (b) No Default. At the time of and immediately after giving effect to such
                           Borrowing, no Default or Event of Default shall have occurred and be
                           continuing.
                       (c) Borrowing Request. The DIP Agent shall have received a Borrowing Request
                           in accordance with Section 2.03.
                       (d) No Material Adverse Effect. There shall have been no Material Adverse Effect.
                       (e) DIP Orders. The Final Order shall have been entered no later than 30 days after
                           the Petition Date and each DIP Order, as the case may be, shall be in full force
                           and effect.
                       (f) Compliance with Orders. The Credit Parties shall be in compliance with the DIP
                           Orders in all respects and the Non-DIP Orders in all material respects.




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 Bankruptcy Code        Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                          (g) Budget. The DIP Agent and the Lenders shall have received all periodic updates
                              required under the Approved Budget and the Credit Parties shall be in
                              compliance with the Approved Budget.
                          (h) No Trustee, Examiner or Receiver. No trustee, examiner or receiver shall have
                              been appointed or designated.
                          (i) Approvals. Each Credit Party shall have obtained all approvals required from
                              any Governmental Authority and all consents of other Persons.
                          (j) No Other Proceedings. Other than the Chapter 11 Cases there shall exist no
                              claim, action, suit, investigation, litigation or proceeding, pending or threatened
                              in any court or before any arbitrator or governmental instrumentality which
                              relates to the DIP Facility or the transactions contemplated hereby except for
                              claims, actions, suits, investigations, litigation or proceedings otherwise stayed
                              by 11 U.S.C. 362.
                          (k) Each of the conditions in Section 4.01 shall have been satisfied (or waived by
                              the Majority Lenders).
                      See DIP Credit Agreement, Art. IV, § 4.01.
Interest Rates
                      The DIP Loans will bear interest at a rate of adjusted LIBOR (subject to a 2.0% floor)
Bankruptcy Rule
                      plus 7.5% per annum and such interest rate shall increase to adjusted LIBOR (subject to
4001(c)(1)(B)
                      a 2.0% floor) plus 10.0% for DIP Loans outstanding for more than 90 days. Interest on
                      the New Money Loans shall be paid in cash monthly and upon any repayment or
                      prepayment. Interest on the Refinanced Loans shall be paid in kind and any reference to
                      “principal amount” of the Refinanced Loans shall include any interest so capitalized and
                      added to the principal amount thereof.
                      See DIP Credit Agreement, Art. II, § 2.10.
DIP Make-Whole
                      Whether voluntary or mandatory, and with respect to each repayment or prepayment of
Bankruptcy Rule
                      the DIP Loans, any acceleration of the DIP Loans or any other satisfaction or discharge
4001(c)(1)(B)
                      of the DIP Loans prior to February 15, 2019, the Borrower shall pay to the DIP Agent,
                      for the ratable benefit of the DIP Lenders, with respect to the amount of the DIP Loans
                      repaid, prepaid, accelerated, satisfied or discharged, in each case, concurrently with such
                      repayment, prepayment, acceleration, satisfaction or discharge, an amount equal to the
                      Make Whole Amount (as defined and calculated in the Term Credit Agreement).
                      Notwithstanding the foregoing, no Make-Whole Amount shall be payable (a) with respect
                      to any Excluded Make-Whole Prepayments (as defined below), which shall not include,
                      for the avoidance of doubt, and prepayment in connection with a sale pursuant to section
                      363 of the Bankruptcy Code, or (b) if the DIP Loans are repaid and otherwise satisfied
                      pursuant to the Acceptable Plan.
                      “Excluded Make-Whole Prepayments” shall mean any prepayment in connection with an
                      Asset Sale or Casualty Event (as such terms are defined in the DIP Credit Agreement).
Use of DIP Facility
                      The proceeds of the New Money Loans will be used in a manner consistent with the uses
and Cash Collateral
                      set forth in section 3.24. No part of the proceeds of the New Money Loans will be used,
Bankruptcy Rule
                      whether directly or indirectly, to purchase or carry any margin stock (as defined in
4001(b)(l)(B)(ii)
                      Regulation U issued by the Board). The Borrower shall not use, and shall procure that its
                      Subsidiaries and its or their respective directors, officers, employees and agents shall not
                      use, the proceeds of the New Money Loans (A) in furtherance of an offer, payment,
                      promise to pay, or authorization of the payment or giving of money, or anything else of
                      value, to any Person in violation of any Anti-Corruption Laws, (B) for the purpose of


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 Bankruptcy Code      Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                    funding, financing or facilitating any activities, business or transaction of or with any
                    Sanctioned Person, or in any Sanctioned Country, or (C) in any manner that would result
                    in the violation of any Sanctions applicable to any party hereto. The Borrower will not
                    fund all or part of any repayment of the Obligations out of proceeds derived from
                    transactions which would be prohibited by Sanctions or would otherwise cause any
                    Person to be in breach of Sanctions.
                    No proceeds of the DIP Loans, the DIP Collateral, the Prepetition Collateral, or any
                    portion of the Carve Out may be used for the payment of (i) the fees and expenses of any
                    person incurred in (A) the initiation or prosecution of any claims, causes of action,
                    adversary proceedings, or other litigation against any DIP Secured Party, Term Facility
                    Secured Party, Hedge Counterparty or Second Lien Party for the purpose of challenging
                    the amount, validity, extent, perfection, priority, characterization, or enforceability of or
                    asserting any defense, counterclaim or offset to the DIP Obligations, the DIP Liens, the
                    DIP Superpriority Claims, the Term Obligations, the Term Liens, the Hedge Obligations,
                    the Hedge Liens, the Term Administrative Expense Claim, the Second Lien Obligations,
                    the Second Lien Notes Liens, the Second Lien Administrative Expense Claim, and the
                    Adequate Protection Liens; or (B) asserting any other claims, causes of action, adversary
                    proceeding, or other litigation or actions (including, without limitation, any Avoidance
                    Actions (as defined below)) against any DIP Secured Party, Term Facility Secured Party,
                    Hedge Counterparty or Second Lien Party that would hinder or delay the assertion,
                    enforcement, or realization on the DIP Collateral or the Cash Collateral in accordance
                    with the DIP Loan Documents, the Term Loan Documents, the Hedge Documents, the
                    Second Lien Documents, or this Interim Order; or (ii) any other purposes not expressly
                    permitted under the DIP Loan Documents.
                    Subject to entry of the Final Order, up to $25,000 in the aggregate proceeds of the DIP
                    Loans, the DIP Collateral, the Prepetition Collateral, and/or the Carve Out may be used
                    to pay fees and expenses of the professionals retained by any Committee that are incurred
                    in connection with investigating the matters covered by the stipulations contained in
                    Paragraph J of this Interim Order; provided, however that no portion of such amount may
                    be used by a Committee or any other party to prosecute or support any claims or
                    challenges.
                    So long as the Final Order is entered by the Bankruptcy Court within 30 days after the
                    Petition Date, no proceeds of the DIP Loans or the DIP Collateral may be used for the
                    payment of the fees and expenses of any professional retained (or to be retained) in these
                    Chapter 11 Cases, other than the fees and expenses of the DIP Agent and DIP Lenders,
                    during the period between entry of this Interim Order and entry of the Final Order.
                    Nothing in this paragraph 4(c) shall alter or otherwise impair the Carve Out as set forth
                    in paragraph 11.
                    See DIP Credit Agreement, Art. VI, § 5.09; Interim Order ¶ 4.
Entities with       The following secured parties have an interest in Cash Collateral:
Interests in Cash
                        (a) Term Facility Secured Parties;
Collateral
Bankruptcy Rule         (b) Hedge Counterparties; and
4001(b)(l)(B)(i)
                        (c) Second Lien Secured Parties.
                    See Interim Order ¶¶ 13–14.
Fees
Bankruptcy Rule         (a) Upfront Fee. Non-refundable upfront fee in cash in an amount equal to 1.75%
4001(c)(1)(B)               of the aggregate New Money Commitment on the Effective Date.



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 Bankruptcy Code         Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                           (b) Commitment Yield Enhancement. Non-refundable yield enhancement in cash in
                               an amount equal to 1.75% of the aggregate New Money Commitment.
                           (c) Administrative Agent Fees. The Borrower shall pay to the DIP Agent, for its
                               own account, the administrative agent fees and expenses in the amounts and at
                               the times set forth in the Fee Letter.
                       See DIP Credit Agreement, Art. II, § 2.12; Interim Order ¶ 5.
Budget                 The Approved Budget was prepared in good faith based on assumptions believed by the
Bankruptcy Rule 4001   Credit Parties to be reasonable at the time made.
(c)(1)(B)
                       See DIP Credit Agreement § 5.01.
                       See Interim Order Exhibit 1.
Reporting
                       As soon as available and in any event on the fourth Business Day of each week covered
Information
                       in the Approved Budget, commencing with Thursday of the second full week after the
Bankruptcy Rule
                       Petition Date, a proposed 13-Week Budget, and, upon approval thereof by the Majority
4001(c)(l)(B)
                       Lenders, such 13-Week Budget shall become the Approved Budget; provided that if such
                       proposed 13-Week Budget is not satisfactory to the Majority Lenders in their sole
                       discretion and not approved by the Majority Lenders, the Approved Budget that is then
                       in effect shall remain in place.
                       See DIP Credit Agreement, Art. VI, § 5.01.
Variance Covenant
                       On each Budget Testing Date (prior to 5:00 p.m. pacific time), (i) a variance report by
Bankruptcy Rule
                       email and certified by the chief financial officer of the Borrower, in form and substance
4001(c)(l)(B)
                       acceptable to the Majority Lenders in their sole discretion, setting forth (x) each of the
                       actual cash receipts and disbursements for the immediately preceding calendar week on a
                       cumulative basis and the aggregate liquidity as of the end of such calendar week and (y)
                       the variance in dollar amounts of the actual cash receipts and disbursements (including
                       debt service but excluding fees and expenses of the Lenders and any professional fees)
                       for each weekly period from those reflected for the corresponding period in the Approved
                       Budget and including explanations for all material variances (including whether such
                       variance is permanent in nature or timing related), (ii) an analysis, certified by the chief
                       financial officer of the Borrower, demonstrating that, subject to and after giving effect to
                       the application of any Carry Forward Amount, a Budget Event shall not have occurred
                       for such week (if applicable) and (iii) a “flash” cash report detailing all cash and Cash
                       Equivalents of each of the Credit Parties (broken out by entity) as of the close of business
                       on the last Business Day of the prior week.
                       See DIP Credit Agreement, Art. VII, § 5.01.
Chapter 11             The Consenting Parties’ support for the Restructuring Transaction shall be subject to the
Milestones             timely satisfaction of the following Milestones:
Bankruptcy Rule
                           (a) The Company shall have commenced the solicitation of the Plan by no later than
4001(c)(1)(B)
                               October 26, 2018.
                           (b) The Company shall have concluded the solicitation of the Plan by no later than
                               October 31, 2018.
                           (c) The Company shall have commenced the Chapter 11 Cases in the Bankruptcy
                               Court by no later than October 31, 2018.
                           (d) On the Petition Date, the Company shall have filed (i) the Plan, (ii) the
                               Disclosure Statement, and (iii) a motion for approval of the Disclosure



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 Bankruptcy Code         Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                                Statement and solicitation procedures and to set a hearing to consider
                                confirmation of the Plan.
                           (e) Within five (5) days following the Petition Date, the Bankruptcy Court shall
                               have entered the Interim Order.
                           (f) Within thirty (30) days following the Petition Date, the Bankruptcy Court shall
                               have entered the Final Order.
                           (g) Within sixty (60) days following the Petition Date, the Bankruptcy Court shall
                               have entered an order approving the Disclosure Statement and confirming the
                               Plan (the “Confirmation Order”).
                       Within twenty (20) days following the entry of the Confirmation Order, the Plan shall
                       have been consummated.
                       See DIP Credit Agreement, Art. I.
Liens and Priorities
                       The liens contemplated by the DIP Credit Agreement will follow the following priority:
Bankruptcy Rule
4001(c)(l)(B)(i)       The DIP Liens will be junior to the Hedge Liens and the Permitted Liens, but senior to
                       the Term Liens and Second Lien Notes Liens.
                       See Interim Order ¶¶ 14–17.
Carve Out
                       The “Carve Out” shall have the meaning set forth in the DIP Orders.
Bankruptcy Rule
4001(c)(1)(B)          See DIP Credit Agreement, Art. I.
                       See Interim Order ¶ 11.
Challenge Period       The stipulations and admissions contained in this Interim Order, including, without
Bankruptcy Rule        limitation, in Paragraph [J] of this Interim Order, shall be binding on the Debtors’ estates
4001(c)(l)(B)          and any successor thereto (including, without limitation, any chapter 7 or chapter 11
                       trustee appointed or elected for any of the Debtors) and all parties in interest, including,
                       without limitation, any statutory committee appointed in the Chapter 11 Cases, unless a
                       party has timely commenced a contested matter or adversary proceeding (a “Challenge”)
                       after obtaining requisite standing and authority (a) challenging the amount, validity, or
                       enforceability of the Term Obligations or the Second Lien Obligations, (b) challenging
                       the perfection or priority of the Primed Liens, (c) challenging the existence of any DIP
                       Collateral, or (d) otherwise asserting any objections, claims, or causes of action
                       (including, without limitation, any actions for preferences, fraudulent conveyances, or
                       other avoidance power claims) against the Primed Parties relating to the Primed Liens,
                       the Term Obligations, the Second Lien Obligations, the Term Loan Documents, or the
                       Second Lien Documents no later than the earlier of (i) 40 days after the Petition Date or
                       (ii) thirty (30) days after the appointment of a Committee. If no such Challenge is timely
                       commenced as of such dates then, without further order of the Bankruptcy Court, to the
                       extent not theretofore indefeasibly repaid, satisfied, or discharged, as applicable, the
                       claims, liens, and security interests of the Primed Parties shall, without further order of
                       the Bankruptcy Court, be deemed to be finally allowed for all purposes in the Chapter 11
                       Cases and any subsequent Chapter 7 cases and shall not be subject to challenge or
                       objection by any party in interest as to validity, priority, amount or otherwise.
                       Notwithstanding anything to the contrary therein (other than as set forth in Paragraph [J]),
                       if no Challenge is timely commenced and sustained, the stipulations contained in
                       Paragraph [J] of this Interim Order shall be binding on the Debtors’ estates, any statutory
                       committee appointed in the Chapter 11 Cases, and all parties in interest. If any such
                       Challenge is timely commenced and/or sustained, the stipulations contained in Paragraph
                       [J] shall nonetheless remain binding on the Debtors’ estates, any statutory committee


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 Bankruptcy Code        Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                      appointed in the Chapter 11 Cases, and all parties in interest (other than as set forth in
                      Paragraph [J]), except to the extent that such stipulations were expressly challenged in
                      such Challenge. Nothing in this Interim Order vests or confers on any Person (as defined
                      in the Bankruptcy Code), including any statutory committee appointed or formed in the
                      Chapter 11 Cases, standing or authority to pursue any cause of action belonging to the
                      Debtors or their estates, including, without limitation, any Challenges. For the avoidance
                      of doubt, as to the Debtors, all Challenges and any rights to assert any Challenges are
                      hereby irrevocably waived and relinquished as of the Petition Date.

                      See Interim Order ¶ 27.

Adequate Protection
                      The Term Facility Secured Parties and the Second Lien Secured Parties shall be entitled
Bankruptcy Rules
                      to adequate protection of their interests in the Primed Collateral (including the Cash
4001(b)(l)(B)(iv),
                      Collateral), and the Hedge Counterparties shall be entitled to adequate protection of their
4001(c)(1)(B)(ii)
                      interests in the Hedge Collateral (including the Cash Collateral), as set forth in Paragraphs
                      13, 14, and 15 below, respectively, in an amount equal to the aggregate diminution in
                      value (if any) of the Primed Collateral or the Hedge Collateral, as applicable, resulting
                      from the sale, lease, or use by the Debtors of the Primed Collateral or Hedge Collateral,
                      as applicable, (including the Cash Collateral), and/or the imposition of the automatic stay
                      pursuant to section 362 of the Bankruptcy Code (such diminution, the “Adequate
                      Protection Obligations”).
                      The terms of the Adequate Protection (as defined below) are fair and reasonable, reflect
                      the Debtors’ prudent exercise of business judgment, and are sufficient to allow the
                      Debtors’ use of the Prepetition Collateral (including the Cash Collateral) and to permit
                      the DIP Liens and the DIP Superpriority Claims to prime the Primed Liens on the Primed
                      Collateral, but not, for avoidance of doubt, the Hedge Liens on the Hedge Collateral.
                      See Interim Order ¶¶ 13 and 14.

Events of Default         The following events shall constitute “Events of Default”
Bankruptcy Rule
4001(c)(l)(B)             (a) Non-Payment. Any Credit Party shall fail to pay any principal, or premium on
                              any Loan or (ii) any Credit Party shall fail to pay any fee or any other amount;

                          (b) Representations and Warranties. Any representation or warranty shall prove to
                              have been incorrect in any material respect when made or deemed made and
                              such materiality is continuing;

                          (c) Covenants. The Borrower or any Subsidiary shall fail to observe or perform (i)
                              any term, covenant, condition or agreement contained in Section 5.01(j), Section
                              5.01(k), Section 5.01(l), Section 5.02, Section 5.03 (with respect to the
                              Borrower’s or any Subsidiary’s existence), Section 5.07(b), Section 5.09,
                              Section 5.18, Section 5.19 or in Article VI or (ii) any other term, covenant,
                              condition or agreement contained in the DIP Credit Agreement;

                          (d) DrillCo Agreement. The Borrower or any Subsidiary shall fail to make any
                              payment required under the DrillCo Agreement;

                          (e) Cross-Default. The Borrower or any Subsidiary shall fail to make any payment
                              in respect of any Material Indebtedness;

                          (f) Restructuring Support Agreement. (i) Any Credit Party or any of its Subsidiaries
                              files or supports a motion that has been filed to reject the Restructuring Support

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Bankruptcy Code   Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                        Agreement, (ii) the Restructuring Support Agreement is terminated for any
                        reason other than as a result of a default thereunder by the holders of the
                        Prepetition Obligations or (ii) the occurrence of a default by any Credit Party or
                        any of its Subsidiaries under the Restructuring Support Agreement;

                   (g) Judgments. One or more judgments for the payment of money in an aggregate
                       amount in excess of $500,000 shall be rendered against the Borrower or any
                       Subsidiary;

                   (h) ERISA. An ERISA Event shall have occurred that, in the opinion of the Majority
                       Lenders, when taken together with all other ERISA Events that have occurred,
                       could reasonably be expected to result in a Material Adverse Effect;

                   (i) Guarantee. The delivery by any Guarantor to the DIP Agent of written notice
                       that a Guarantee under Article VII has been revoked;

                   (j) Invalidity of Loan Documents. Any material provision of any Loan Document,
                       at any time after its execution and delivery and for any reason other than as
                       expressly permitted hereunder or thereunder or satisfaction in full of all the
                       Obligations, ceases to be valid and enforceable;

                   (k) Drillco. Any Lien granted to a Credit Party by the DrillCo Investor under or
                       related to the DrillCo Operating Agreement fails to be senior to all other Liens
                       granted by the DrillCo Investor in the Property encumbered thereby;

                   (l) Budget Event. Subject to and after giving effect to the application of any Carry
                       Forward Amount, there occurs any Budget Event;

                   (m) Liens; Additional Security Documents. (i) Any Credit Party or its Subsidiaries
                       shall attempt to invalidate, reduce or otherwise impair the Liens or security
                       interests of the DIP Agent and/or the Lenders;

                   (n) Conversion to Chapter 7. An order with respect to any of the Chapter 11 Cases
                       shall be entered by the Bankruptcy Court converting any Chapter 11 Case to a
                       Chapter 7 case;

                   (o) Alternate Financing. Any Credit Party shall propose, consent to, cooperate with,
                       solicit votes with respect to, acquiesce to, support or file a motion in any of the
                       Chapter 11 Cases without the express written consent of the Majority Lenders
                       (x) to obtain additional financing from a party other than the Lenders under
                       section 364(d) of the Bankruptcy Code or (y) to use Cash Collateral of a Lender
                       under section 363(c) of the Bankruptcy Code, unless, in either case of (x) or (y),
                       such plan provides for the Discharge of Obligations and payment of all
                       Prepetition Obligations in full in cash upon the incurrence of such additional
                       financing or such plan is an Acceptable Plan;

                   (p) Prepetition Claims. Any Credit Party shall file a motion seeking, or the
                       Bankruptcy Court shall enter, an order (i) approving payment of any prepetition
                       claim other than (x) as provided for in the “first day orders” and included in the
                       Approved Budget (subject to and after giving effect to the application of any
                       Carry Forward Amount and any permitted variance), or (y) otherwise consented
                       to in writing by the Majority Lenders in their sole discretion, (ii) granting relief
                       from the automatic stay applicable under section 362 of the Bankruptcy Code to


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Bankruptcy Code   Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                        any holder of any security interest to permit foreclosure on any assets having a
                        book value in excess of $500,000 in the aggregate, or (iii) except with respect to
                        the Prepetition Indebtedness, approving any settlement or other stipulation not
                        approved by the Majority Lenders or not authorized by the Bankruptcy Court
                        and not included in the Approved Budget (subject to and after giving effect to
                        the application of any Carry Forward Amount and any permitted variance) with
                        any secured creditor of any Credit Party providing for Adequate Protection
                        Payments or other payment to such secured creditor;

                   (q) Other Proceedings. Other than the Chapter 11 Cases or any ancillary non-U.S.
                       proceeding, scheme or process requested by the Lenders, the commencement or
                       pendency of any involuntary or voluntary insolvency proceeding, scheme or like
                       processes pending in any jurisdiction with respect any Credit Party;

                   (r) Appointment of Trustee or Examiner. An order with respect to any of the
                       Chapter 11 Cases shall be entered by the Bankruptcy Court appointing, or any
                       Credit Party, or any Subsidiary of a Credit Party shall file an application for an
                       order with respect to any of the Chapter 11 Cases or otherwise seeking the
                       appointment of, (i) a trustee under section 1104, (ii) an examiner with enlarged
                       powers relating to the operation of the business (powers beyond those set forth
                       in section 1106(a)(3) and (4) of the Bankruptcy Code) under section 1106(b) of
                       the Bankruptcy Code or (iii) a receiver;

                   (s) Dismissal of Chapter 11 Cases. An order shall be entered by the Bankruptcy
                       Court dismissing any of the Chapter 11 Cases which does not contain a provision
                       upon entry thereof for each of (i) Discharge of Obligations and (ii) payment in
                       full of the Prepetition Obligations;

                   (t) Order With Respect to Chapter 11 Cases. An order with respect to any of the
                       Chapter 11 Cases shall be entered by the Bankruptcy Court without the express
                       prior written consent of the Majority Lenders;

                   (u) Application for Order By Third Party. An application for any of the orders
                       described in clause (n) above shall be made by a Person other than the Credit
                       Parties and such application is not contested by the Credit Parties in good faith
                       or the relief requested is not withdrawn, dismissed or denied within 30 days after
                       filing or any Person obtains a Final Order under §506(c) of the Bankruptcy Code
                       against the DIP Agent or obtains a Final Order adverse to the DIP Agent or the
                       Lenders or any of their respective rights and remedies under the Loan
                       Documents or in the Collateral, unless such plan provides for the Discharge of
                       Obligations and payment of all Prepetition Obligations in full in cash upon the
                       incurrence of such additional financing or such plan is an Acceptable Plan;

                   (v) DIP Orders. (i) A violation by any Credit Party of any term, provision or
                       condition in any DIP Order, (ii) Any DIP Order is amended, supplemented,
                       reversed, vacated or otherwise modified without the prior written consent of the
                       Majority Lenders (and with respect to amendments, modifications or
                       supplements that affect the rights or duties of the DIP Agent, the DIP Agent) or
                       (iii) any DIP Order shall cease to be in full force and effect;

                   (w) Right to File Chapter 11 Plan. The entry of an order by the Bankruptcy Court
                       terminating or modifying the exclusive right of any Credit Party to file a Chapter



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                        11 plan pursuant to section 1121 of the Bankruptcy Code, without the prior
                        written consent of the Majority Lenders;

                   (x) Invalidation of Claims. Any Credit Party shall seek to, or shall support (in any
                       such case by way of any motion or other pleading filed with the Bankruptcy
                       Court or any other writing to another party-in-interest executed by or on behalf
                       of such Credit Party) any other Person’s motion to, disallow in whole or in part
                       the Lenders’ claim in respect of (i) the Obligations or contest any Loan
                       Document, or any material provision of any Loan Document shall cease to be
                       effective (other than in accordance with its terms) or (ii) the Prepetition
                       Obligations or to challenge the validity and enforceability of the liens in favor
                       of the holders thereof;

                   (y) Liquidation. The determination of any Credit Party or any of its Subsidiaries,
                       whether by vote of such Person’s board of directors or otherwise, to suspend the
                       operation of such Person’s business in the ordinary course, liquidate all or
                       substantially all of such Person’s assets, or to conduct any sales of all or
                       substantially all of such Person’s assets, or the filing of a motion or other
                       application in the Cases except as permitted by the DIP Credit Agreement;

                   (z) Public Announcements. Any Credit Party files or publicly announces its
                       intention to file a Chapter 11 plan that contains terms and conditions that are
                       inconsistent in any material respect with the Acceptable Plan or any exhibit or
                       supplement attached thereto and any permitted amendment or modification
                       thereof, without the prior written consent of the Majority Lenders, unless such
                       plan provides for the Discharge of Obligations and payment of all Prepetition
                       Obligations in full in cash upon the incurrence of additional financing;

                   (aa) Payments. Any Credit Party or any of its Affiliates shall have filed a motion
                        seeking the entry of, or the Bankruptcy Court shall have entered, an order
                        approving a material payment to any Person that would be inconsistent with the
                        treatment of any such Person under the Acceptable Plan, other than in
                        accordance with any of the “first day orders”, the final cash collateral order, the
                        DIP Orders, the Approved Budget (subject to and after giving effect to the
                        application of any Carry Forward Amount and any permitted variance), or as
                        otherwise agreed to by the Majority Lenders;

                   (bb) Impairment. (i) The Credit Parties or any of their Affiliates shall file any
                        pleading or proceeding which could reasonably be expected to result in a
                        material impairment of the rights or interests of the Lenders or (ii) entry of an
                        order of the Bankruptcy Court with respect to any pleading or proceeding which
                        results in a material impairment of the rights or interests of the Lenders;

                   (cc) Acceptable Plan. The Acceptable Plan or the confirmation order approving the
                        same is amended, supplemented or otherwise modified or withdrawn or
                        terminated without the prior written consent of the Majority Lenders (and with
                        respect to amendments, modifications or supplements that affect the rights or
                        duties of the DIP Agent, the DIP Agent);

                   (dd) Alternate Reorganization Plan. (i) The Credit Parties’ pursuit of, proposal to,
                        consent to, cooperation with, solicitation of votes with respect to, acquiescence
                        to, support of or the filing of a motion in any of the Chapter 11 Cases with respect
                        to, without the express written consent of the Majority Lenders, any plan of


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 Bankruptcy Code        Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                               reorganization (including any exit financing) other than the Acceptable Plan or
                               (ii) the entry of an order approving any disclosure statement in support of a plan
                               of reorganization (including any exit financing) other than the Acceptable Plan,
                               without the express written consent of the Majority Lenders;

                          (ee) Chief Restructuring Officer. The appointment of a chief restructuring officer or
                               any equivalent officer that is not reasonably satisfactory to the Majority Lenders;

                          (ff) Stipulations. The Credit Parties shall breach any of their respective stipulations
                               set forth in the DIP Orders;

                          (gg) Adversary Proceedings. The initiation by the Credit Parties, any statutory
                               Committee appointed in the Chapter 11 Cases, any trustee, any examiner or any
                               other party in interest of any contested matter or adversary proceeding in respect
                               of any of the DIP Credit Agreement, the Obligations, the DIP Agent, the
                               Lenders, the Prepetition Obligations, the Prepetition Secured Parties, including,
                               but not limited to, any actions pursuant to chapter 5 of the Bankruptcy Code, in
                               each case, except as may otherwise be permitted under the DIP Orders; or

                          (hh) Change of Control. There occurs any Change of Control.

                          See DIP Credit Agreement, Art. VIII.
Waiver/Modification
                      Without requiring further order from the Bankruptcy Court and without the need for filing
of the Automatic
                      any motion for relief from the automatic stay or any other pleading, the automatic stay
Stay
                      provisions of section 362 of the Bankruptcy Code are vacated and modified to the extent
Bankruptcy Rule
                      necessary to permit the Majority DIP Lenders or the DIP Agent at the direction of the
4001(c)(1)(B)(iv)
                      Majority DIP Lenders to, immediately upon the occurrence and during the continuance
                      of any Event of Default (as defined in the DIP Credit Agreement), (a) send written notice
                      of the occurrence of an Event of Default (such notice, the “Event of Default Notice”)
                      and/or (b) without limitation and without prior notice, terminate commitments under the
                      DIP Facility, pursuant to and subject to the terms and conditions set forth in the DIP Loan
                      Documents and in this Interim Order. Upon the occurrence and during the continuation
                      of an Event of Default, after three (3) business days’ prior written notice to the Debtors
                      from the Majority DIP Lenders or the DIP Agent at the direction of the Majority DIP
                      Lenders (the “Notice Period”), (a) the DIP Obligations shall accelerate and (b) the
                      automatic stay of Section 362 of the Bankruptcy Code shall be terminated without order
                      of the Bankruptcy Court, without the need for filing any motion for relief from the
                      automatic stay or any other pleading, for the purpose of permitting the DIP Lenders to
                      exercise any or all of their rights and remedies set forth in the DIP Orders or the DIP Loan
                      Documents, including without limitation: (i) directing the DIP Agent to foreclose on the
                      DIP Collateral and (ii) moving the Bankruptcy Court (on shortened notice) to appoint a
                      chief restructuring officer for the Debtors, which motion the Debtors shall not to oppose.
                      After the Majority DIP Lenders or the DIP Agent at the direction of the Majority DIP
                      Lenders have sent the Event of Default Notice, any obligation otherwise imposed on the
                      DIP Secured Parties to provide any loans or advances under the DIP Facility shall be
                      immediately suspended, unless otherwise ordered by the Court provided, that during the
                      Notice Period the Debtors may use the proceeds of the DIP Facility (to the extent drawn
                      prior to the occurrence of Event of Default) or Cash Collateral to (i) fund operations in
                      accordance with the DIP Credit Agreement and the Budget and (ii) to fund the Carve-Out
                      Reserves; provided further that during the Notice Period the Debtors, the DIP Lenders
                      and the DIP Agent consent to a hearing on an expedited basis to consider whether an
                      Event of Default has occurred; provided further, that if a hearing to consider the foregoing


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     Bankruptcy Code           Summary of Material Terms/Significant Provisions Governed by Rule 3(c)(vii)
                             is requested to be heard before the end of the Notice Period but is scheduled for a later
                             date by the Court, the Notice Period shall be automatically extended to the date of such
                             hearing, but in no event later than five (5) business days after delivery of the Event of
                             Default Notice; provided further that any fees and expenses incurred by the Debtors or
                             the Committee during the Notice Period shall permanently reduce the Post-Carve-Out
                             Trigger Notice Cap.. Notwithstanding the occurrence of an Event of Default, the Maturity
                             Date, and/or termination of the commitments under the DIP Credit Agreement, all of the
                             rights, remedies, benefits, and protections provided to the DIP Secured Parties under the
                             DIP Loan Documents and this Interim Order shall survive.
                             See Interim Order ¶ 15.
    Indemnification
                             Indemnification by the Borrower. The Credit Parties shall jointly and severally indemnify
    Bankruptcy Rule
                             each Recipient, within 10 Business Days after demand therefor, for the full amount of any
    4001(c)(1)(B)(ix)
                             Indemnified Taxes (including Indemnified Taxes imposed or asserted on or attributable
                             to amounts payable under this Section) payable or paid by such Recipient or required to
                             be withheld or deducted from a payment to such Recipient and any reasonable expenses
                             arising therefrom or with respect thereto, whether or not such Indemnified Taxes were
                             correctly or legally imposed or asserted by the relevant Governmental Authority. A
                             certificate as to the amount of such payment or liability delivered to the Borrower by a
                             Lender (with a copy to the DIP Agent), or by the DIP Agent on its own behalf or on behalf
                             of a Lender, shall be conclusive absent manifest error.
                             See Interim Order ¶ 24.


                                 Statement Regarding Significant Provisions

           15.      The Interim Order contains certain of the provisions (the “Significant Provisions”)7

identified on Exhibit B to the Complex Case Procedures as summarized in the Attorney Checklist

Concerning Motion and Order Pertaining to Use of Cash Collateral attached hereto as Exhibit C.

           16.      The Interim Order: (a) grants superpriority administrative expense claims to the

DIP Secured Parties (the “DIP Superpriority Claim”); (b) grants superpriority administrative

expense claims to the Hedge Counterparties, subject only to the Carve-Out and the DIP



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      Significant Provisions refer to those provisions that: (a) grant cross-collateralization protection (other than
      replacement liens or other adequate protection) to prepetition secured creditors; (b) deem prepetition secured debt
      to be postpetition debt or that use postpetition loans from a prepetition secured creditor to pay part or all of that
      secured creditor’s prepetition debt, other than as provided in section 552(b) of the Bankruptcy Code; (c) bind the
      bankruptcy estates or any parties in interest with respect to the validity, perfection, or amount of the secured
      creditor’s prepetition lien or debt or the waiver of claims against the secured creditor; (d) waive or limit the
      estate’s rights under section 506(c) of the bankruptcy code; (e) grant prepetition secured creditors liens on the
      debtor’s claims and causes of action arising under chapter 5 of the Bankruptcy Code; (f) impose deadlines for the
      filing of a plan or disclosure statement; and (g) grant an administrative claim.


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Obligations; (c) grants superpriority administrative expense claims to the Term Facility Secured

Parties, subject only to the Carve-Out, the Hedge Obligations, and the DIP Obligations; (d) grants

superpriority administrative expense claims to the Second Lien Secured Parties, subject only to

the Carve Out, the Hedge Obligations, the DIP Obligations, the Term Obligations, the Term

Facility Adequate Protection Claims, and the Term Facility Adequate Protection Liens; (e) grants

replacement liens on all Hedge Collateral to the Hedge Counterparties, subject only to the Carve-

Out and the DIP Liens; (f) grants additional perfected liens on all DIP Collateral to the Hedge

Counterparties, subject only to the Carve-Out and the DIP Liens; (g) grants replacement liens on

all Term Facility Collateral to the Term Facility Secured Parties, subject only to the Carve-Out,

the Hedge Liens, and the DIP Liens; (h) grants additional perfected liens on all DIP Collateral to

the Term Facility Secured Parties, subject only to the Carve-Out, the Hedge Liens, and the DIP

Liens; (i) grants additional perfected liens on all DIP Collateral to the Term Facility Secured

Parties, subject only to the Carve-Out, the Hedge Liens, and the DIP Liens; (j) grants senior

perfected replacement liens on all Second Lien Collateral to the Second Lien Secured Parties,

subject only to the Carve-Out, the Hedge Liens, the DIP Liens, the Term Obligations, and the Term

Facility Adequate Protection Claims; (k) grants additional perfected liens on all DIP Collateral to

Second Lien Secured Parties, subject only to the Carve-Out, the Hedge Liens, the DIP Liens, the

Term Obligations, and the Term Facility Adequate Protection Claims; and (l) after entry of the

Interim Order, monthly payment in cash of the reasonable and documented costs, fees and

expenses of the Term Facility Secured Parties and the Second Lien Secured Parties (including, but

not limited, to fees and expenses of their advisors) in accordance with the Term Credit Agreement

and the Second Lien Indenture, respectively.




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        17.     In light of the foregoing, the Debtors submit that the Significant Provisions are

appropriate under the facts and circumstances of these chapter 11 cases. Accordingly, the

Significant Provisions in the Interim Order should be approved.

I.      The Debtors’ Prepetition Capital Structure.

        18.     As of the Petition Date, the Debtors have approximately $446.4 million in total

funded debt obligations, as well as outstanding preferred equity with a stated aggregate liquidation

preference of approximately $154.6 million. The following tables depict the Debtors’ prepetition

capital structure:

                                                                        Approximate Principal
                     Obligation                       Maturity
                                                                              Amount
 First Lien Term Loan                         March 2022                   $283.9 million
 Second Lien Convertible Notes                March 2022                   $162.5 million
                              Aggregate Funded Secured Debt:               $446.4 million

              Preferred Equity                   Shares                 Liquidation Preference
 Series A Preferred Shares                      4,045,000                   $101.1 million
 Series B Preferred Shares                      2,140,000                    $53.5 million
                             Aggregate Liquidation Preference:              $154.6 million

        A.      Term Loan.

        19.     As of the Petition Date, the Debtors have approximately $283.9 million in principal

outstanding under the senior secured first-lien term loan (the “Term Loan”) incurred under that

certain Third Amended and Restated Credit Agreement, dated as of March 3, 2017 (as amended,

restated or otherwise modified from time to time, the “Term Credit Agreement”), by and among

Gastar, as borrower, Northwest Property Ventures LLC, as guarantor party thereto, Wilmington

Trust, N.A. (“Wilmington Trust”), as administrative agent, and the lender parties thereto

(the “Term Lenders,” and together with the Term Agent, the “Term Facility Secured Parties”).




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        20.      The loans made pursuant to the Term Loan accrued cash interest at a per annum

rate equal to 8.5%, payable on a quarterly basis.8 The Term Loan has a scheduled maturity of

March 3, 2022 and is guaranteed by Debtor Northwest Property Ventures LLC. The Term Loan

is secured by a first-priority lien on substantially all of the assets of the Debtors, excluding certain

assets as customary exceptions.

        21.      In addition, the Term Loan provides for an interest “make-whole,” or repayment

premium, such that any repayment or prepayment of the loans thereunder prior to the stated

maturity date shall be subject to the payment of a repayment premium, and depending on the date

of such repayment or prepayment, the applicable interest “make-whole” amount, with the amount

of such repayment premium decreasing over the life of the Term Loan. As of the Petition Date,

the Debtors estimate the Term Loan make-whole amount to be approximately $50.5 million. Upon

the entry of the Final DIP Order, the Debtors anticipate that the outstanding principal amount and

accrued but unpaid interest on the Term Loan will be refinanced with the proceeds of the DIP

Facility.

        B.       Second Lien Notes Indenture.

        22.      The Debtors have approximately $162.5 million in principal outstanding in

convertible second lien secured notes (the “Second Lien Notes”) issued under an indenture, dated

March 3, 2017 (the “Second Lien Notes Indenture”), by and among Gastar, as borrower, Northwest

Property Ventures LLC, as guarantor party thereto, Wilmington Trust, as administrative agent and

collateral trustee (the “Second Lien Trustee,” and together with the holders of the Second Lien

Notes, the “Second Lien Secured Parties”). The principal terms of the Second Lien Notes are



8
    The interest rate increased to 10.25% in Amendment No. 2 to the Term Credit Agreement dated as of August 2017
    but effective as of July 1, 2017, which the Debtors elected to pay-in-kind.


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governed by the Second Lien Notes Indenture. Pursuant to the Second Lien Notes Indenture, the

Second Lien Notes were issued for cash at par, bear interest initially at 6.0 percent per annum, and

will mature on March 1, 2022 (unless earlier repurchased, redeemed, or converted in accordance

with the terms of the Second Lien Notes Indenture). Interest is payable on the Second Lien Notes

on each March 1, June 1, September 1, and December 1 of each year, beginning on June 1, 2017.

The Second Lien Notes are secured by a second-priority lien on substantially all of the assets of

the Debtors. The Debtors are current on cash interest payments on the Second Lien Notes.

        23.      The Second Lien Notes are convertible at the option of the holder into shares of

common stock of Gastar (“Common Stock”) based on an initial conversion rate of 452.4355 shares

of Common Stock per $1,000 in principal amount of the Second Lien Notes,9 subject to certain

adjustments and the issuance of additional “make-whole” shares under circumstances specified in

the Indenture. Subject to certain limitations, Gastar has the right to settle its conversion obligations

on the Second Lien Notes in cash, shares of Common Stock, or a combination of cash and shares

of Common Stock. Gastar has the right to redeem the Second Lien Notes (a) on or after March 3,

2019 if the Common Stock trades above 150% of the conversion price for periods specified in the

Indenture; and (b) on or after March 1, 2021 without regard to such condition, in each case at par

plus accrued interest, if any. The Second Lien Notes are not redeemable prior to March 3, 2019.

        C.       Preferred Equity.

        24.      Gastar Exploration Inc.’s certificate of incorporation authorizes 40 million shares

of preferred stock with a par value of $0.01 per share. Gastar has designated 10 million of such

shares to constitute its 8.625% Series A Cumulative Preferred Stock (the “Series A Preferred


9
    The conversion rate is equivalent to an initial conversion price of approximately $2.21 per share, or 30 percent
    above the volume weighted average price per share of Common Stock for the 30 trading days prior to execution
    of the Securities Purchase Agreement (the “Purchase Agreement”), dated February 16, 2017, between the Debtors
    and the Refinancing Purchasers (as defined below).


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Stock”) and another 10 million of such shares to constitute their 10.75% Series B Cumulative

Preferred Stock (the “Series B Preferred Stock” and, together with the Series A Preferred Stock,

the “Preferred Stock”). The Series A Preferred Stock and the Series B Preferred Stock each have

a liquidation preference of $25.00 per share.

       25.     As of the Petition Date, there were approximately 4,045,000 shares of Series A

Preferred Stock issued and outstanding and approximately 2,140,000 shares of Series B Preferred

Stock issued and outstanding, with an aggregate liquidation preference of approximately

$154.6 million. As of the Petition Date, the Series A Preferred Stock traded at approximately

$2.18 per share, Series B Preferred Stock traded at approximately $2.80 per share.

       26.     Dividends on the Preferred Stock accumulate regardless of whether any such

dividends are declared. In 2017, Preferred Stock cash dividends paid totaled $19.3 million,

including $10.9 million of dividends for the period from April 2016 to December 2016 paid in

January 2017. On August 1, 2017, primarily in response to the decline in oil prices and to preserve

liquidity, the Debtors elected to temporarily suspend Preferred Stock dividends. On April 30,

2018, however, the Debtors paid $10.8 million, reflecting total accumulated unpaid dividends on

the Preferred Stock from August 1, 2017 through April 30, 2018. The Company continued to

declare and pay dividends of $1.2 million per month on the Preferred Stock through June 30, 2018.

On June 11, 2018, the Company elected to permanently suspend the declaration and payment of

monthly cash dividends on the Preferred Stock commencing July 2018. As of the Petition Date,

accumulated and unpaid dividends on the outstanding Preferred Stock aggregated to approximately

$[4.8] million, or $[0.78] per share.

       D.      Common Equity.

       27.     As of the Petition Date, there were approximately 219 million shares of Common

Stock issued and outstanding. As of the Petition Date, the Common Stock traded at $0.055 per

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share, which, along with the trading prices of Preferred Stock, implies an aggregate equity market

capitalization of less than $26.9 million.

       28.     The Debtors have never declared or paid any cash dividends on Common Stock. In

addition, the Term Loan and the Second Lien Notes Indenture prohibit the Debtors from paying

cash dividends on Common Stock as long as any debt remains outstanding.

       E.      Hedging Obligations.

       29.     Prior to the Petition Date, the Debtors maintained a hedging program with certain

counterparties (the “Hedge Counterparties” and together with the Term Facility Secured Parties

and the Second Lien Secured Parties, the “Primed Parties”) to hedge against the risk of commodity

price fluctuations. Pursuant to an Intercreditor Agreement, dated as of March 3, 2017, by and

among the Debtors, the Term Loan Agent, and the Hedge Counterparties, and related mortgages,

deeds of trust and security documents, all liabilities and obligations of the Debtors under their

hedging arrangements were secured by an uncapped, first priority lien on and security interest in

the collateral securing the Term Loan Credit Agreement that ranked pari passu with the liens

granted to the senior most creditors under the Term Loan Credit Agreement. The Debtors and the

Hedge Counterparties agreed to terminate and liquidate all transactions entered into between the

Debtors, on the one hand, and any Hedge Counterparty, on the other hand, on or as soon as is

practicable after the Petition Date (as defined in the Hedge Party Term Sheet) and treat the

approximately $13 million in aggregate resulting claims as set forth in the Plan. Each of the

Debtors’ hedge counterparties voted to support the Plan.

II.    The Debtors Have a Need for Debtor-in-Possession Financing and Use of Cash
       Collateral.

       30.     The Debtors require immediate access to the DIP Facility in addition to continued

use of the DIP Agent, the Term Agent, and the Second Lien Trustee’s cash collateral (the “Cash


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Collateral”). As of the Petition Date, the Debtors’ current cash balance is insufficient to operate

their enterprise and continue paying their debts as they come due. The Debtors’ business is capital

intensive, with significant daily costs required to satisfy obligations to vendors and employees. As

such, and due to their current limited liquidity, the Debtors require immediate access to the DIP

Facility and the use of Cash Collateral to operate their business, preserve value, and avoid

irreparable harm pending the Final Hearing.

       31.     Further, a significant portion of the Prepetition Collateral includes oil and gas

properties and related assets (including real property and personal property related thereto) on

which the Term Facility Secured Parties and the Second Lien Secured Parties have liens, including

the oil and gas extracted by the Debtors from those properties and the proceeds generated from

sales thereof. The Debtors’ business model is predicated upon their ability to maximize the value

of their oil and gas assets, bring them to market, and utilize the proceeds in their business

operations. Thus, the orderly continuation of the Debtors’ operations and the preservation of their

going concern value is largely dependent upon their ability to regularly convert the prepetition

collateral into Cash Collateral and use it in their operations.

       32.     The Debtors also rely on the encumbered cash generated from their operations to

fund working capital, capital expenditures, research and development efforts, and for other general

corporate purposes. During the start of these chapter 11 cases, the Debtors will need this operating

revenue to satisfy payroll, pay suppliers, meet overhead, pay expenses pursuant to joint operating

agreements for properties operated by the Debtors, satisfy joint interest billings for properties

where the Debtors are a non-operating working interest holder, and make any other payments that

are essential for the continued management, operation, and preservation of the Debtors’ business.




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The ability to satisfy these expenses when due is essential to the Debtors’ continued operation of

their business during the pendency of these cases.

        33.     Absent funds available from the DIP Facility, access to Cash Collateral, and the

cooperation of key business partners at this critical early stage, the Debtors could face a value-

destructive interruption to their business and lose support from important stakeholders on whom

the Debtors’ business depends—which, in turn, would hinder the Debtors’ ability to maximize the

value of their estates—and be forced to curtail their operations significantly and to the detriment

of the Debtors, their estates, and their creditors.

III.    Alternative Sources of Financing Are Not Available on Better Terms.

        34.     The Debtors do not believe it would be prudent, or even possible, to administer

these chapter 11 estates on a “cash collateral” basis, rendering postpetition financing a necessity.

As mentioned above, PWP and TPH conducted a marketing process to determine the availability

of postpetition financing sources, and ultimately each of the 21 potential investors and interested

parties contacted rejected the opportunity to provide alternative debtor-in-possession financing.

Based on the results of this marketing process, alternative debtor-in-possession financing on terms

superior to those contained in the DIP/Exit Financing is not presently unavailable to the Debtors.

        35.     The Restructuring Support Agreement is the product of extensive good-faith,

arm’s-length negotiations, and the DIP Facility is an essential component of the broader

restructuring transaction contemplated thereby. As a result, and in light of the foregoing, the DIP

Facility represents the only viable financing available that has garnered the support of Ares. The

DIP Facility will provide the Debtors with immediate access to the liquidity that is necessary to

fund the Debtors’ operations, stabilize the Debtors’ business during the pendency of these chapter

11 cases, ensure that the value-maximizing transaction contemplated by the Restructuring Support

Agreement is consummated, and provide committed financing to fund the Debtors’ emergence

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from chapter 11. The economic terms of the proposed DIP Facility are competitive and reflective

of the market for other similar postpetition financing in recent years. Therefore, the DIP Facility

is in the best interests of the Debtors’ estates and the Debtors respectfully request that the Court

approve the DIP Facility on the terms and conditions described herein.

                                            Basis for Relief

I.      The Debtors Should Be Authorized to Obtain Postpetition Financing through the DIP
        Loan Documents.

        A.      Entering into the DIP Loan Documents Is an Exercise of the Debtors’ Sound
                Business Judgment.

        36.     The Court should authorize the Debtors, in an exercise of their sound business

judgment, to enter into the DIP Loan Documents, obtain access to the DIP Facility, and continue

using the Cash Collateral. Courts grant considerable deference to a debtor’s business judgment in

obtaining postpetition secured credit, so long as the agreement to obtain such credit does not run

afoul of the provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re N. Bay

Gen. Hosp., Inc., No. 08-20368 (Bankr. S.D. Tex. July 11, 2008) (order approving postpetition

financing on an interim basis as exercise of debtors’ business judgment); In re L.A. Dodgers LLC,

457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the business

judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc., 115 B.R. 34,

40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion under

section 364 is to be utilized on grounds that permit reasonable business judgment to be exercised

so long as the financing agreement does not contain terms that leverage the bankruptcy process

and powers or its purpose is not so much to benefit the estate as it is to benefit a party-in-interest.”).

        37.     Specifically, to determine whether a debtor has met this business judgment

standard, a court need only “examine whether a reasonable business person would make a similar

decision under similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del.

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2006); see also In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting

that courts should not second guess a debtor’s business decision when that decision involves “a

business judgment made in good faith, upon a reasonable basis, and within the scope of [the

debtor’s] authority under the [Bankruptcy] Code”).

       38.     Further, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Elingsen

McLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have

to enter into “hard bargains” to acquire funds for its reorganization).

       39.     The Debtors’ determination to move forward with the DIP Facility is a sound

exercise of their sound business judgment following a thorough process and careful evaluation of

alternatives. Specifically, the Debtors and their advisors determined that the Debtors would

require significant postpetition financing to support the administration of their chapter 11 cases

and their ongoing operations. The Debtors negotiated the DIP Loan Documents with the DIP

Lenders in good faith, at arm’s length, and with the assistance of their advisors, and the Debtors

believe that they have obtained the best financing available. As discussed, the Debtors through

negotiations, ultimately determined that the DIP Facility was the best available alternative after a

competitive process and, successfully avoided the time and expense of a priming fight.

Accordingly, the Court should authorize the Debtors’ entry into the DIP Loan Documents as a

reasonable exercise of the Debtors’ business judgment.




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       B.      The Debtors Should Be Authorized to Grant Liens and Superpriority Claims
               to the DIP Lenders.

       40.     The Debtors propose to obtain financing under the DIP Facility, in part, by

providing superpriority claims and liens pursuant to section 364(c) of the Bankruptcy Code.

Significantly, the Debtors propose to provide first priority liens on substantially all of the Debtors’

assets, including previously unencumbered property and “priming” liens on all of the Prepetition

Collateral.

       41.     In the event that a debtor demonstrates that it is unable to obtain unsecured credit

allowable as an administrative expense under section 503(b)(1) of the Bankruptcy Code, section

364(c) provides that a court:

               [M]ay authorize the obtaining of credit or the incurring of debt
               (1) with priority over any or all administrative expenses of the kind
               specified in section 503(b) or 507(b) of [the Bankruptcy Code];
               (2) secured by a lien on property of the estate that is not otherwise
               subject to a lien; or (3) secured by a junior lien on property of the
               estate that is subject to a lien.

       42.     11 U.S.C. § 364(c); see also In re Crouse Group, Inc., 71 B.R. 544, 549 (Bankr.

E.D. Pa. 1987) (secured credit under section 364(c) of the Bankruptcy Code is authorized, after

notice and hearing, upon showing that unsecured credit cannot be obtained). Courts have

articulated a three-part test to determine whether a debtor is entitled to financing pursuant to

section 364(c) of the Bankruptcy Code. Specifically, courts look to whether:

               a.      the debtor is unable to obtain unsecured credit under section
                       364(b) of the Bankruptcy Code, i.e., by allowing a lender
                       only an administrative claim;

               b.      the credit transaction is necessary to preserve the assets of
                       the estate; and

               c.      the terms of the transaction are fair, reasonable, and
                       adequate, given the circumstances of the debtor-borrower
                       and proposed lenders.


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See In re Ames Dep’t Stores, 115 B.R. 34, 37–40 (Bankr. S.D.N.Y. 1990); see also In re St. Mary

Hosp., 86 B.R. 393, 401–02 (Bankr. E.D. Pa. 1988); Crouse Group, 71 B.R. at 549.

       43.     No party that PWP and TPH contacted as part of the above-described process was

interested in providing, or willing to provide, postpetition financing to the Debtors on an unsecured

basis. Indeed, no constituency was willing to provide postpetition financing on anything other

than a superpriority or priming basis with respect to all of the Debtors’ assets. Put simply, the DIP

Lenders were not willing to provide the DIP Facility on any other terms, and no other existing

stakeholder or third-party presented a proposal without such priming liens. Further, the Debtors

have not discovered sufficient unencumbered assets to secure sufficient debtor-in-possession

financing to fund a non-consensual chapter 11 case. Accordingly, the DIP Facility structure is

appropriate in light of the Debtors’ financing needs and the lack of viable non-priming debtor-in-

possession financing alternatives.

       44.     Further, section 364(d) provides that a debtor may obtain credit secured by a senior

or equal lien on property of the estate already subject to a lien where the debtor is “unable to obtain

such credit otherwise” and “there is adequate protection of the interest of the holder of the lien on

the property of the estate on which such senior or equal lien is proposed to be granted.” 11 U.S.C.

§ 364(d)(1). Accordingly, the Debtors may incur “priming” liens under the DIP Facility if they

are unable to obtain unsecured or junior secured credit and either (a) the Primed Parties have

consented, or (b) the Primed Parties’ interests in collateral are adequately protected. Here, the

requisite Primed Parties have consented to the priming liens securing the DIP Facility. Further,

the Primed Parties will receive adequate protection of the Prepetition Collateral under the DIP

Orders. Accordingly, the relief requested pursuant to section 364(d)(1) of the Bankruptcy Code is

both warranted and appropriate under the circumstances.



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       C.      No Comparable Alternative to the DIP Facility Is Reasonably Available.

       45.     A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber

Prods., Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where only

a few lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic and

unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” Sky

Valley, Inc., 100 B.R. at 113; see also In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986)

(demonstrating that credit was unavailable absent the senior lien by establishment of unsuccessful

contact with other financial institutions in the geographic area); In re Stanley Hotel, Inc., 15 B.R.

660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two national banks refused to grant

unsecured loans was sufficient to support conclusion that section 364 requirement was met); In re

Ames Dep’t Stores, 115 B.R. at 37–39 (debtor must show that it made reasonable efforts to seek

other sources of financing under section 364(a) and (b)).

       46.     Here the Debtors conducted a competitive and comprehensive debtor-in-possession

marketing process, and following arm’s-length negotiations with all potential lenders, the Debtors

determined that the DIP Facility is the best available alternative under the circumstances to fund

these chapter 11 cases. The DIP Facility is supported by the holders of the Debtors’ secured debt,

will avoid expensive litigation at the outset of these cases, and provide the Debtors with flexibility

to pursue a balance sheet restructuring.




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II.       The Use of Cash Collateral Is Warranted and Should Be Approved.

          47.      The Debtors’ use of property of their estates, including the Cash Collateral, is

governed by section 363 of the Bankruptcy Code,10 which provides in relevant part that:

                   If the business of the debtor is authorized to be operated under
                   section . . . 1108 . . . of this title and unless the court orders
                   otherwise, the [debtor] may enter into transactions, including the
                   sale or lease of property of the estate, in the ordinary course of
                   business, without notice or a hearing, and may use property of the
                   estate in the ordinary course of business without notice or a hearing.

          48.      11 U.S.C. § 363(c)(1). Pursuant to section 363(c)(2) of the Bankruptcy Code, a

debtor may not use cash collateral unless “(A) each entity that has an interest in such cash collateral

consents; or (B) the court, after notice and a hearing, authorizes such use, sale, or lease in

accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2).

          49.      Generally, what constitutes adequate protection is decided on a case-by-case basis.

See In re Columbia Gas Sys., Inc., No. 91-803, 1992 WL 79323, at *2 (Bankr. D. Del. Feb. 18,

1992); In re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996) (“the determination of adequate

protection is a fact-specific inquiry . . . left to the vagaries of each case”); see also In re Realty

Southwest Assocs., 140 B.R. 360, 366 (Bankr. S.D.N.Y. 1992); In re Beker Indus. Corp., 58 B.R.

725, 736 (Bankr. S.D.N.Y. 1986) (the application of adequate protection “is left to the vagaries of

each case, but its focus is protection of the secured creditor from diminution in the value of its




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      Section 363(a) of the Bankruptcy Code defines “cash collateral” as follows:
          Cash, negotiable instruments, documents of title, securities, deposit accounts, or other cash
          equivalents whenever acquired in which the estate and an entity other than the estate have an interest
          and includes the proceeds, products, offspring rents, or profits of property and the fees, charges,
          accounts or other payments for the use or occupancy of rooms and other public facilities in hotels,
          motels, or other lodging properties subject to a security interest as provided in section 552(b) of this
          title, whether existing before or after the commencement of a case under this title.
      11 U.S.C. § 363(a).


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collateral during the reorganization process”) (citation omitted); see also In re Cont’l Airlines Inc.,

154 B.R. 176, 180–81 (Bankr. D. Del. 1993).

       50.     The Debtors intend to provide the Primed Parties with adequate protection.

Specifically, the Debtors will provide: (a) adequate protection in the form of replacement and

additional liens on the prepetition and DIP Collateral, respectively, to the Primed Parties; (b) cash

payments after entry of the Interim Order to the Term Facility Secured Lenders and the Second

Lien Secured Lenders; (c) superpriority administrative claims to the Primed Parties subject to the

Carve Out and the DIP Liens; and (d) payment of reasonable fees and expenses of the Term

Facility Secured Lenders and the Second Lien Secured Lenders.

       51.     Further, the Primed Parties will inherently benefit from the Debtors’ proposed use

of the Cash Collateral, which will prevent avoidable diminution in value of the Cash Collateral

and enhance the likelihood of preserving the Debtors’ overall going concern value as the Debtors

continue to negotiate with all of their key stakeholders. Preservation of the Debtors’ business as a

going concern in and of itself serves to provide such parties “adequate protection” for Bankruptcy

Code purposes. See 495 Cent. Park Ave. Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992) (noting

that, in determining whether protection is “adequate,” courts consider “whether the value of the

debtor’s property will increase as a result of the” use of collateral or provision of financing); In re

Sky Valley, Inc., 100 B.R. 107, 114 (Bankr. N.D. Ga. 1988) (“an increase in the value of the

collateral . . . resulting from superpriority financing could result in adequate protection.” (citation

omitted)), aff’d sub nom. Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R. 117 (N.D. Ga. 1989).

       52.     The Debtors believe that the proposed adequate protection in the proposed Interim

Order is necessary and sufficient for the Debtors to continue to use Cash Collateral. Accordingly,

the Debtors submit that the adequate protection is (a) fair and reasonable, (b) necessary to satisfy



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the requirements of sections 363(c)(2) and 363(e) of the Bankruptcy Code, and (c) in the best

interests of the Debtors and their estates. Moreover, courts in this district and others have approved

similar adequate protection packages in other recent chapter 11 cases. See, e.g., In re EXCO

Resources, Inc., No. 18-30155 (MI) (Bankr. S.D. Tex. Jan. 18, 2018) (granting superpriority

administrative claims, adequate protection replacement liens, adequate protection payments, and

fees and expenses on an interim basis to the applicable prepetition secured creditors); In re LINN

Energy, LLC, No. 16-60040 (DRJ) (Bankr. S.D. Tex. May 13, 2016) (same); In re Energy XXI

LTD., No. 16-31928 (DRJ) (Bankr. S.D. Tex. Apr. 15, 2016) (same); In re Goodrich Petrol. Corp.,

No. 16-31975 (MI) (Bankr. S.D. Tex. Apr. 18, 2016) (same); In re Midstates Petrol. Co.,

No. 16-32237 (DRJ) (Bankr. S.D. Tex. May 2, 2016) (same); In re Southcross Holdings LP,

No. 16-20111 (MI) (Bankr. S.D. Tex. Mar. 29, 2016) (same).11

III.       The Debtors Should Be Authorized to Pay the Fees Required by the DIP Agent and
           the DIP Lenders under the DIP Loan Documents.

           53.      Under the DIP Loan Documents, the Debtors have agreed, subject to Court

approval, to pay certain fees to the DIP Agent and the DIP Lenders. In particular, as noted above,

the Debtors have agreed to pay:

                    a.       Upfront / Arrangement Fee. 1.75% of the aggregate principal amount of
                             the New Money Loans due and payable to the DIP Lenders in cash on the
                             initial funding date of the New Money Loans.

                    b.       DIP Agent and DIP Lender Fees: All reasonable and documented fees and
                             expenses of the DIP Agent and the DIP Lenders (including, but not limited
                             to, the fees and expenses of their advisors) shall have been satisfied.

           54.      As set forth in the Cofsky Declaration, the Debtors believe that the fees and

expenses to be paid under the DIP Facility are appropriate in light of the facts and circumstances



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       Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
       Copies of these orders are available upon request to the Debtors’ proposed counsel.


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of these chapter 11 cases. Specifically, the Debtors have agreed to pay an arrangement fee to the

DIP Agent and the DIP Lenders. Further, the above-described fees and expenses are relatively

minor in comparison to the Debtors’ overall capital structure—i.e., the approximately $446.4

million in funded debt. Accordingly, the fees and expenses provided for under the DIP Facility

are reasonable and within market practice for debtor-in-possession financings of this size and type.

Accordingly, the Court should authorize the Debtors to pay the fees and expenses provided under

the DIP Loan Documents in connection with the DIP Facility.

IV.    The Repayment Feature of the DIP Facility Is Appropriate.

       55.     Section 363(b) of the Bankruptcy Code permits a debtor to use, sell or lease

property, other than in the ordinary course of business, with court approval. It is well settled in

most circuits that such transactions should be approved when they are supported by a sound

business purpose. See In re Abbots Dairies, Inc., 788 F.2d 143 (3d Cir. 1986) (holding that in the

Third Circuit, a debtor’s use of assets outside the ordinary course of business under section 363(b)

should be approved if the debtor can demonstrate a sound business justification for the proposed

transaction). The business judgment rule shields a debtor’s management from judicial second-

guessing. In re Johns-Manville Corp., 60 B.R. 612, 615-16 (Bankr. S.D.N.Y. 1986) (“[T]he

[Bankruptcy] Code favors the continued operation of a business by a debtor and a presumption of

reasonableness attaches to a debtor’s management decisions.”).

       56.     Repayment of prepetition debt (often referred to as a “roll-up”) is a common feature

in debtor-in-possession financing arrangements. The Debtors seek approval of the “roll-up”

feature only upon entry of the Final Order. However, courts in many jurisdictions have approved

similar DIP features on the first day of the case. See, e.g., In re Mission Coal Company, LLC, No.

18-04177 (TOM) (Bankr. N.D. Ala. Oct. 16, 2018) (authorizing approximately $201,441,464 DIP

and a roll-up of approximately $50 million on an interim basis); In re Remington Outdoor Co.,

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Inc., No. 18-10684 (BLS) (Bankr. D. Del. Mar. 28, 2018) (authorizing approximately $338 million

DIP and a roll-up of approximately $150 million, including a full ABL roll-up of $114 million,

pursuant to interim order); In re Bon-Ton Stores, Inc., No. 18-10248 (MFW) (Bankr. D. Del. Feb.

6, 2018) (authorizing full roll-up of all $489 million outstanding prepetition revolving obligations

pursuant to interim order); In re Real Indus. Inc., No. 17-12464 (KJC) (Bankr. D. Del. Nov. 20,

2017) (authorizing approximately $365 million DIP that included a creeping roll-up pursuant to

interim order and a full roll-up pursuant to final order of approximately $266 million prepetition

debt); In re Charming Charlie, LLC, No. 17-12906 (CSS) (Bankr. D. Del. Dec. 12, 2017)

(authorizing approximately $90 million DIP that included a full ABL roll-up of approximately $22

million prepetition debt pursuant to interim order); In re Radioshack Corp., No. 15-10197 (BLS)

(Bankr. D. Del. Feb. 5, 2015) (authorizing approximately $285 million DIP and a roll-up of

approximately $250 million prepetition debt, including a full ABL roll-up of $215 million,

pursuant to interim order); In re MACH Gen, LLC, No. 14-10461 (MFW) (Bankr. D. Del. Mar. 5,

2014) (authorizing approximately $200 million DIP that included a full roll-up of approximately

$144 million prepetition debt pursuant to interim order); In re BCBG Max Azria Global Holdings

LLC, No. 17-10466 (Bankr. S.D.N.Y. Mar. 2, 2017) (authorizing a $157 million DIP and a roll-up

of $117 million, including a full ABL roll-up of $82 million pursuant to final order following a

creeping roll-up pursuant to the interim order); In re Cenveo, Inc., No. 18-22178 (Bankr. S.D.N.Y.

Feb. 2, 2018) (authorizing a $290 million DIP, including a full ABL roll-up of $190 million,

pursuant to interim order); In re Gymboree Corporation, No. 17-32986 (Bankr. E.D. Va. June 12,

2017) (authorizing a $378 million DIP and $247 million roll-up, including a full ABL roll-up of

$177 million); In re Toys “R” US, Inc., No. 17-34665 (Bankr. E.D. Va. Sept. 20, 2017)




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(authorizing a $2.3 billion DIP and a full roll-up of approximately $948 million in the prepetition

ABL and FILO facilities).12

           57.      As set forth above, the DIP Credit Agreement provides that approximately

$283.9 million of the Term Obligations will “roll up” with the DIP Facility pursuant to the Term

Facility Refinancing. The roll-up of the Term Obligations is a material component of the structure

of the DIP Facility and was required by the DIP Lenders as a condition to their commitment to

provide postpetition financing. The DIP Facility is the only financing available at this time and

the Debtors’ need incremental liquidity to fund the operation of their business. Absent the DIP

Facility, the Debtors’ ability to continue operating as a going concern will be jeopardized to the

detriment of all parties in interest. Given these circumstances, the roll-up of the Term Obligations

is reasonable, appropriate, and a sound exercise of the Debtors’ business judgment.

V.         The DIP Agent, the DIP Lenders, and the Primed Parties Should Be Afforded Good-
           Faith Protection under Section 364(e).13

           58.      Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

                    The reversal or modification on appeal of an authorization under this
                    section [364 of the Bankruptcy Code] to obtain credit or incur debt,
                    or of a grant under this section of a priority or a lien, does not affect
                    the validity of any debt so incurred, or any priority or lien so granted,
                    to an entity that extended such credit in good faith, whether or not
                    such entity knew of the pendency of the appeal, unless such
                    authorization and the incurring of such debt, or the granting of such
                    priority or lien, were stayed pending appeal.


12
       Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
       Copies of these orders are available upon request of the Debtors’ proposed counsel.
13
     [Please conform parties receiving Good-Faith Protection to the Interim Order.]


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       59.     The DIP Facility is the result of (i) the Debtors’ reasonable and informed

determination that the DIP Lenders offered the most favorable terms on which to obtain vital

postpetition financing, and (ii) extensive arm’s-length, good-faith negotiations between the

Debtors, the DIP Lenders, the DIP Agent, and the Primed Parties. The Debtors submit that the

terms and conditions of the DIP Facility are reasonable and appropriate under the circumstances,

and the proceeds of the DIP Facility will be used only for purposes that are permissible under the

Bankruptcy Code. Accordingly, the Court should find that the obligations arising under the DIP

Facility and other financial accommodations made to the Debtors have been extended by the DIP

Agent, the DIP Lenders, the Primed Parties in “good faith” within the meaning of section 364(e)

of the Bankruptcy Code and therefore the DIP Agent, the DIP Lenders, and the Primed Parties are

entitled to all of the protections afforded thereby.

VI.    The Automatic Stay Should Be Modified on a Limited Basis.

       60.     The Interim Order provides that the automatic stay provisions of section 362 of the

Bankruptcy Code will be modified to allow the DIP Lenders to file any financing statements,

security agreements, notices of liens, and other similar instruments and documents in order to

validate and perfect the liens and security interests granted to them under the DIP Orders. The

proposed Interim Order further provides that the automatic stay is modified to the extent necessary

to implement and effectuate the terms of the Interim Order. Finally, the proposed Interim Order

provides that the automatic stay shall be vacated and modified, subject to certain limitations, to

the extent necessary to permit the DIP Agent and DIP Lenders to exercise certain remedies upon

the occurrence of an event of default by the Debtors under the DIP Loan Documents.

       61.     Stay modifications of this kind are ordinary and standard features of debtor-in-

possession financing arrangements, and, in the Debtors’ business judgment, are reasonable and

fair under the circumstances of these chapter 11 cases. See, e.g., In re EXCO Resources, Inc., No.

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18-30155 (MI) (Bankr. S.D. Tex. Jan. 18, 2018); In re Southcross Holdings LP, No. 16-20111

(MI) (Bankr. S.D. Tex. Apr. 11, 2016) (modifying automatic stay as necessary to effectuate the

terms of the order); In re Autoseis, Inc., No. 14-20130 (RSS) (Bankr. S.D. Tex. Mar. 27, 2014)

(same); In re ATP Oil & Gas Corp., No. 12-36187 (MI) (Bankr. S.D. Tex. Aug. 17, 2012) (same);

In re MPF Holdings US LLC, No. 08-36084 (JB) (Bankr. S.D. Tex. Feb. 18, 2009) (same); see

also In re TMP Directional Mktg., LLC, No. 11-13835 (MFW) (Bankr. D. Del. Jan. 17, 2012)

(same).

VII.      Failure to Obtain Immediate Interim Access to the DIP Facility and Cash Collateral
          Would Cause Immediate and Irreparable Harm.

          62.   Bankruptcy Rule 4001(b) provides that a final hearing on a motion to use cash

collateral pursuant to section 363 of the Bankruptcy Code may not be commenced earlier than

14 days after the service of such motion. Upon request, however, the court is empowered to

conduct an interim expedited hearing on the motion at which it may authorize a debtor to use cash

collateral to the extent necessary to avoid immediate and irreparable harm to a debtor’s estate. See

Bankruptcy Rule 4001(b)(2). Section 363(c)(3) of the Bankruptcy Code authorizes the court to

conduct a preliminary hearing and to authorize the use of cash collateral “if there is a reasonable

likelihood that the [debtor] will prevail at the final hearing under [section 363(e) of the Bankruptcy

Code].” 11 U.S.C. § 363(c)(3). Furthermore, the Complex Case Procedures provide that “on

motion by the Debtors, a hearing will routinely be conducted within three business days to consider

. . . cash collateral use[.]” Complex Case Procedures, ¶ 4.A.

          63.   The Debtors require immediate access to the DIP Facility. As of the Petition Date,

the Debtors’ total unrestricted cash balance is insufficient to operate their enterprise and continue

paying their debts as they come due. The Debtors’ business is cash intensive, with significant

daily costs required to satisfy obligations to vendors and employees. As such, and due to their


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current limited liquidity, the Debtors require immediate access to postpetition financing and the

use of Cash Collateral to operate their business, preserve value, and avoid irreparable harm pending

the Final Hearing.

        64.     The Debtors, with the assistance of their advisors and through negotiations with the

DIP Lenders, developed the Budget. The Budget establishes that the Debtors will have adequate

liquidity during this interim period if allowed to utilize the Cash Collateral and access the DIP

Facility. The DIP includes all reasonable, necessary, and foreseeable expenses to be incurred in

connection with the operation of their business for the period set forth in the Budget.

        65.     The Debtors are seeking limited relief to, among other things, satisfy payroll, pay

suppliers, meet overhead, pay expenses pursuant to joint operating agreements for properties

operated by the Debtors, satisfy joint interest billings for properties where the Debtors are a non-

operating working interest holder, and make any other payments that are essential for the continued

management, operation, and preservation of the Debtors’ business. The ability to satisfy these

expenses when due is essential to the Debtors’ continued operation of their business during the

pendency of these cases.

        66.     Failure to obtain access to the DIP Facility and Cash Collateral will result in

immediate and irreparable harm to the Debtors and their stakeholders, and will diminish the value

of the Debtors’ estates. Without the approval of the DIP Facility and use of Cash Collateral, the

Debtors will be unable to continue to operate in the ordinary course and preserve and maximize

the value of their assets for the benefit of all parties in interest.

        67.     Accordingly, pursuant to section 363(c)(3) of the Bankruptcy Code and Bankruptcy

Rule 4001(b), the Debtors request that the Court conduct an expedited hearing on this motion, and




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enter the proposed Interim Order authorizing the Debtors to enter into the DIP Facility and use the

Cash Collateral.

                                    Request for Final Hearing

       68.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for the Final Hearing that is as soon as practicable, and fix the time and date

prior to the Final Hearing for parties to file objections to this motion.

                                    Emergency Consideration

       69.     Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors respectfully request

emergency consideration of this motion pursuant to Bankruptcy Rule 6003, which empowers a

court to grant relief within the first 21 days after the commencement of a chapter 11 case “to the

extent that relief is necessary to avoid immediate and irreparable harm.” As set forth in this

motion, the Debtors believe an immediate and orderly transition into chapter 11 is critical to the

viability of their operations and that any delay in granting the relief requested could hinder the

Debtors’ operations and cause irreparable harm. Furthermore, the failure to receive the requested

relief during the first 21 days of these chapter 11 cases would severely disrupt the Debtors’

operations as this critical juncture and imperil the Debtors’ restructuring. Accordingly, the Debtors

submit that they have satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule

6003 and, therefore, respectfully request that the Court approve the relief requested in this motion

on an emergency basis.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       70.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

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                                                Notice

       71.     The Debtors will provide notice of this motion to: (a) the Office of the U.S. Trustee

for the Southern District of Texas; (b) the holders of the 20 largest unsecured claims against the

Debtors (on a consolidated basis); (c) counsel to Ares Management LLC and its affiliated funds;

(d) the United States Attorney’s Office for the Southern District of Texas; (e) the Internal Revenue

Service; (f) the United States Securities and Exchange Commission; (g) the Environmental

Protection Agency and similar state environmental agencies for states in which the Debtors

conduct business; (h) the state attorneys general for states in which the Debtors conduct business;

and (i) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be given.


                            [Remainder of page intentionally left blank.]




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       WHEREFORE, the Debtors respectfully request that the Court enter the DIP Orders,

granting the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.


Dated: October 31, 2018             /s/ Matthew D. Cavenaugh
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                                     Certificate of Service

        I certify that on October 31, 2018, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
